     Case 2:10-cr-00456-APG-VCF         Document 195      Filed 04/10/14     Page 1 of 3




 1

 2

 3

 4

 5

 6

 7                          UNITED STATES DISTRICT COURT
 8                                   DISTRICT OF NEVADA
 9

10   UNITED STATES OF AMERICA,

11          Plaintiff,                              Case No. 2:10-cr-00456-LDG (VCF)
                                                    Case No. 2:14-cv-00514-LDG
12   v.
                                                    ORDER
13   CHRISTOPHER DIBLASIO,

14          Defendant.

15

16          The defendant, Christopher Diblasio, moves pursuant to 28 U.S.C. §2255 to vacate,

17   set aside, or correct his sentence (#192), and further moves for appointment of counsel

18   (#194), and applies for leave to proceed in forma pauperis (#193). As it plainly appears

19   from the Court’s initial consideration of the motion and the record of prior proceedings that

20   the defendant is not entitled to any relief, the Court will dismiss the §2255 motion and deny

21   the remaining motions as moot.

22          The underlying premise of defendant’s motion is that the Supreme Court recognized

23   a new right in Alleyne v. United States, ____ U.S. ____, 133 S.Ct. 2151 (2013) that is

24   retroactively applicable to cases on collateral review. He further asserts that application of

25   this newly recognized right establishes that mandatory minimum sentencing system under

26   which he was sentenced violated his Fifth and Sixth Amendment rights.
     Case 2:10-cr-00456-APG-VCF         Document 195       Filed 04/10/14    Page 2 of 3




 1          Assuming that the Supreme Court recognized a new right in Alleyne that is

 2   retroactively applicable to cases on collateral review, the defendant is not entitled to any

 3   relief. In Alleyne, the Supreme Court overruled Harris v. United States, 536 U.S. 545

 4   (2002) and concluded “that any fact that increases the mandatory minimum is an ‘element’

 5   that must be submitted to the jury.” Alleyne, 133 S.Ct. at 2155.

 6          In the present matter, the Court sentenced the defendant to a statutory minimum

 7   sentence of ten years for violating 18 U.S.C. §924(c)(1)(A)(iii). Section 924(c)(1)(A)(i)

 8   establishes a minimum statutory sentence of five years for using and carrying a firearm

 9   during and in relation to a crime of violence. The minimum statutory sentence is increased

10   to seven years if the firearm is brandished, §924(c)(1)(A)(ii), and to ten years if the firearm

11   is discharged, §924(c)(1)(A)(iii). Thus, under Alleyne, brandishing and discharging a

12   firearm must be recognized as elements of respective offenses as they are facts that

13   increase the mandatory minimum sentence.

14          The record of prior proceedings in this case establishes that the defendant was

15   charged with violating 18 U.S.C. §924(c)(1). In support of that charge, the superceding

16   indictment charged that the defendant, during and in relation to a crime of violence, did

17   knowingly use and carry a firearm by brandishing and discharging said firearm. In pleading

18   guilty, the defendant admitted to discharging a firearm. The plea agreement expressly

19   recognized that the statutory minimum sentence for the offense to which the defendant was

20   pleading guilty was ten years. The Court, in accepting the defendant’s plea, expressly

21   notified him that the statutory sentence for the offense to which he was pleading guilty was

22   ten years to life.

23          The record of the proceedings establishes that the defendant was charged with the

24   element of discharging a firearm, was notified during the plea colloquy that the statutory

25   sentence for discharging a firearm during and in relation to a crime of violence was ten

26   years to life, and thereafter admitted to the element of discharging a firearm. Thus, the

                                                    2
     Case 2:10-cr-00456-APG-VCF         Document 195       Filed 04/10/14     Page 3 of 3




 1   defendant’s Fifth and Sixth Amendment rights were not violated in connection with his

 2   conviction and sentencing for violating §924(c)(1)(A)(iii).

 3             Therefore, for good cause shown,

 4             THE COURT ORDERS that Defendant’s Motion Pursuant to 28 U.S.C. §2255 to

 5   Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody (#192) is

 6   DISMISSED;

 7             THE COURT FURTHER ORDERS that Defendant’s Application for Leave to

 8   Proceed in Forma Pauperis (#193) is DENIED as moot;

 9             THE COURT FURTHER ORDERS that Defendant’s Motion for Appointment of

10   Counsel (#194) is DENIED as moot;

11             THE COURT FURTHER DENIES a Certificate of Appealability as it plainly appears

12   from the motion and the record of prior proceedings that the defendant is not entitled to any

13   relief;

14             THE COURT FURTHER ORDERS that the Clerk of the Court shall serve a copy of

15   this Order on the Defendant.

16

17    DATED this ______ day of April, 2014.
18

19                                                                 Lloyd D. George
                                                                   United States District Judge
20

21

22

23

24

25

26

                                                    3
